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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                      Case No.: 11-00002-Civ-Moody/McCoun, III

  RAYMOND D. ARLOZYNSKI,

         Plaintiff,
  v.

  CENTRAL PORTFOLIO CONTROL, INC.,

       Defendant.
  _________________________________________/

                      NOTICE OF PENDING SETTLEMENT

         Plaintiff, Raymond D. Arlozynski, submits this Notice of Pending

  Settlement and states that the parties have reached a settlement with regard to this

  case and are presently drafting, finalizing, and executing the settlement and

  dismissal documents. Upon execution of the same, the parties will file a notice of

  dismissal with the Court.


                                            Respectfully submitted,

                                            DONALD A. YARBROUGH, ESQ.
                                            Attorney for Plaintiff
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                                            Fort Lauderdale, Florida 33339
                                            Telephone: (954) 537-2000
                                            Facsimile: (954) 566-2235
                                            donyarbrough@mindspring.com

                                            s/Donald A. Yarbrough
                                            Donald A. Yarbrough, Esq.
                                            Florida Bar No. 0158658
Case 8:11-cv-00002-JSM-TBM Document 7 Filed 03/08/11 Page 2 of 2 PageID 34




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  _______________________________/

                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 8, 2011, I certify that the foregoing
  document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified.



                                               s/Donald A. Yarbrough
                                               Donald A. Yarbrough, Esq.


                                     SERVICE LIST

  Mr. Kenneth C. Grace, Esq.
  Sessions, Fishman, Nathan & Israel, LLC
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  Via Notices of Electronic Filing
